     Case 4:19-cr-00069-WTM-CLR Document 88 Filed 08/09/19 Page 1 of 1


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                                                                             !V /
                                                                         J1 V,
                   IN THE UNITED STATES DISTRICT COURT
                                                                       p:i 3:51*
                 FOR THE SOUTHERN DISTRICT OF GEORGIA


                               SAVANNAH DIVISION              .J. UoV. L/ GA.


THE UNITED STATES OF AMERICA,

                   Plaintiff,
V.                                                   4:19CR69


CRAIG GERMAN,

                Defendant.




                                    ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in   the    parties'   motions     have    been    resolved         by

agreement.     Therefore,       a   hearing     in    this      case    is          deemed

unnecessary.    All motions are dismissed.



     SO ORDERED, this               day of August, 2019.



                                      IRISTOPHER L. RAY
                                     UNITED STATES MAGISTRATE! JUDGE
                                     SOUTHERN   DISTRICT OF GEORGIA
